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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

      PLASTRONICS SOCKET                                 §
      PARTNERS, LTD. ET AL,                              §
                                                         §
           Plaintiffs,                                   §              No. 2:18-CV-00014-JRG-RSP
                                                         §
      v.                                                 §
                                                         §
      DONG WEON HWANG ET AL,                             §
                                                         §
           Defendants.                                   §

                                        MEMORANDUM ORDER


           Defendant HiCon Co., Ltd. (“Defendant”) has filed its Motion to Transfer Venue

  [Dkt. #11] pursuant to 28 U.S.C. § 1404(a). 1 Plaintiffs in this case are Plastronics Socket

  Partners, Ltd. and Plastronics H-Pin, Ltd. (“Plastronics”). Plastronics filed its Response

  [Dkt. #34], Defendant has filed his Reply [Dkt. #41], and Plastronics has filed its Sur-Reply

  [Dkt. #50]. After consideration of the parties’ briefing, the Court concludes that this Motion

  should be DENIED.

           “For the convenience of parties and witnesses, in the interest of justice, a district

  court may transfer any civil action to any other district or division where it might have been

  brought or to any district or division to which all parties have consented.” 28 U.S.C. §

  1404(a). A motion to transfer venue for convenience under § 1404(a) is governed by the



  1
   Defendant’s Motion also originally included a Motion to Dismiss for Improper Venue. Def.’s Mot. at 5–8. Defendant
  eventually filed a Motion to Withdraw [Dkt. 25] this portion, which was granted by the Court [Dkt. #109]. Thus,
  Defendant’s Motion to Transfer Venue pursuant to 28 U.S.C. § 1404(a) is the only remaining portion of the Motion
  [Dkt. #11] that needs to be addressed.

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  law of the local circuit. Pers. Audio, LLC v. Google, Inc., 280 F. Supp. 3d 922, 929 (E.D.

  Tex. 2017) (citing In re TS Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008)).

             To determine whether venue transfer is appropriate under § 1404(a), the Fifth

  Circuit has adopted several public and private interest factors. In re Volkswagen of Am.,

  Inc., 545 F.3d 304, 315 (5th Cir. 2008) (“Volkswagen II”). The public interest factors

  include (1) the administrative difficulties flowing from court congestion; (2) the local

  interest in having localized interests decided at home; (3) the familiarity of the forum with

  the law that will govern the case; and (4) the avoidance of unnecessary problems of conflict

  of laws. Id. The private interest factors include (1) the relative ease of access to sources of

  proof; (2) the availability of compulsory process to secure the attendance of witnesses; (3)

  the cost of attendance for willing witnesses; and (4) all other practical problems that make

  trial of a case easy, expeditious, and inexpensive. Id.

             A plaintiff’s choice of venue is not an express factor in the analysis. Seven Networks,

  LLC v. Google LLC, 2018 U.S. Dist. LEXIS 146375, at *8 (citing Volkswagen II, 545 F.3d

  at 315). However, a moving defendant must demonstrate that the proposed venue is clearly

  more convenient that the original venue. Id. (citing Volkswagen II, 545 F.3d at 315). By

  applying this standard, the plaintiff’s choice of forum is given the appropriate deference.

  Id. (citing Volkswagen II, 545 F.3d at 315).

             The parties are in agreement that several of the public and private interest factors

  are relatively neutral: (1) familiarity of the forum with the law that will govern the case 2;



  2
      Def.’s Mot. at 14; Pls.’ Resp. at 9.

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  (2) avoidance of unnecessary problems of conflict of laws 3; and (3) other practical

  problems that make trial of a case easy, expeditious, and inexpensive. 4 The Court will

  address the remaining factors below.


         I.       The administrative difficulties flowing from court congestion

               The time to trial is relatively longer in the Northern District than in the Eastern

  District of Texas. Table C-5—U.S. District Courts–Civil Statistical Tables For The Federal

  Judiciary (June 30, 2018), http://www.uscourts.gov/statistics/table/c-5/statistical-tables-

  federal-judiciary/2018/06/30. For the twelve-month period ending on June 30, 2018, the

  median time to trial was 21.6 months in the Eastern District and 22.7 months in the

  Northern District. Id. Because these numbers are relatively close, the court finds that this

  factor weighs only slightly against transfer.


         II.      The local interest in having localized interests decided at home

               Defendant has presented several facts to show that the Northern District has a local

  interest in this case. Plastronics is and has been located in Irving, Texas, which is within

  the Northern District. Def.’s Mot. at 14. Plastronics employees thus work in and reside near

  Irving, Texas. Defendant further points out that Mr. Hwang was once an employee at

  Plastronics, working in and residing near Irving, Texas. Def.’s Mot. at 14 (citing Original

  Compl. [Dkt. #1] at ¶ 27). This case also involves a counter-claim for patent infringement

  against Plastronics and therefore “calls into question the work and reputation of several



  3
      Def.’s Mot. at 14; Pls.’ Resp. at 9.
  4
      Def.’s Mot. at 12; Pls.’ Resp. at 8.

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  individuals residing in or near that district and who presumably conduct business in that

  community,” suggesting that the Northern District has a localized interest in this case. See

  In re Hoffmann-La Roche Inc., 587 F.3d 1333, 1336 (Fed. Cir. 2009).

         Plastronics argues that Defendant has directly or indirectly sold products to

  companies having locations in the Eastern District of Texas such as ON Semiconductor,

  Micron, NXP, and Intel. Micron Website [Dkt. #32-3], ON Semiconductor Website [Dkt.

  #32-5], NXP Website [Dkt. #32-6], Intel Website [Dkt. #32-7]. Plastronics argues that this

  gives the Eastern District of Texas a localized interest in the case. Pls.’ Resp. at 9.

  Defendant argues that this does not create a “significant connection” between the District

  and this suit as “the sale of an accused product offered nationwide does not give rise to a

  substantial interest in any single venue.” Def.’s Reply at 5 n.18 (quoting Hoffmann-La

  Roche, 587 F.3d at 1338).

         While residents of both districts have an interest in the case, the Court finds that the

  Northern District has a somewhat stronger local interest than the Eastern District in this

  case. Accordingly, the local interest in having localized interests decided at home factor

  weighs slightly in favor of transfer.


     III.   The relative ease of access to sources of proof

         Deciding this factor turns on “which party, usually the accused infringer, will most

  probably have the greater volume of documents relevant to the litigation and their

  presumed location in relation to the transferee and transferor venues.” Volkswagen II, 545

  F.3d at 316.


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         Plastronics argues that some third-party sources of documents are in possession of

  customers including NXP Semiconductor, Intel Corporation, ON Semiconductor, and

  Micron Technology, which each have a location in the Eastern District. Pls.’ Resp. at 5.

  However, it may be presumed that “the bulk of the discovery material relating to a

  corporate party is located at the corporate headquarters.” Volkswagen II, 545 F.3d at 316.

  None of the corporate headquarters for these companies are in the Eastern District.

         Defendant argues that relevant sources of proof would be more readily available in

  the Northern District because Plastronics’ headquarters is in Irving, which is in the

  Northern District of Texas, but is also adjacent to the Eastern District.

         Each of the Defendants’ sources of proof are likely located in Korea, where the two

  Defendant companies are headquartered. HiCon Co., Ltd. Certificate of Business

  Registration [Dkt. #82-8] at 3; HiCon Company Certificate of Business Registration [Dkt.

  #82-9] at 3. Third-party HiCon USA LLC serves as a distributor of Defendants’ products

  in the United States. Distribution Agreement [Dkt. #11-4]. HiCon USA LLC’s President

  states that the business is based in Arizona and “maintains all of its documents, including

  sales and marketing documents,” in its Arizona location. Schubring Decl. ¶ 5, 11.

         It is well established that if the movants’ documents will have to travel a substantial

  distance to either venue, a slight difference in the distance to be traveled is not a significant

  factor. Here the difference between the Eastern and Northern Districts is inconsequential

  with respect to sources of proof traveling from Korea and Arizona.                 There is no

  inconvenience to Plastronics from proceeding in their venue of choice.

         For the aforementioned reasons, the Court finds that this factor is neutral.

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     IV.      The availability of compulsory process to secure the attendance of
              witnesses

           This factor is relatively neutral. Defendant argues that many potential third-party

  witnesses would be unavailable at trial if the case proceeds in Marshall. Def.’s Mot. at 12.

  Defendant argues that many potential witnesses, namely former Plastronics employees,

  live near Irving, TX, which is within 100 miles from Dallas, and could be subpoenaed to

  participate in trial. Id. Because of this, this Defendant contends that this factor weighs in

  favor of transfer. Id.

           The Court finds that this factor is relatively neutral for several reasons. First, current

  Plastronics employees in Texas would be available to provide live testimony at trial as

  willing witnesses. Second, even former employees and others living in the Dallas area are

  subject to compulsory process for trial testimony in Marshall because they would not “incur

  substantial expense” in doing so. Fed. R. Civ. P. 45(c)(1)(B). Of course, all potential

  witnesses can be subpoenaed for depositions under Rule 45 if this case remains in the this

  district. See VirtualAgility, Inc. v. Salesforce.com, Inc., No. 2:13-CV-00011-JRG, 2014

  WL 459719, at *5 (E.D. Tex. Jan. 31, 2014) (“While this Court recognizes some generic

  benefit of providing live witnesses at trial, the Court is not convinced that using the non-

  party witnesses' deposition as opposed to live testimony at trial would seriously

  inconvenience Defendants.”).


     V.       The cost of attendance for willing witnesses

           Defendant identifies four potential witnesses that should be considered under this

  factor: David Pfaff, Wayne Pfaff, Defendant Hwang, and Paul Schubring. Def.’s Mot. at

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  11. David Pfaff appears to be the president of Plastronics Socket Company. Plastronics

  Website Screenshot [Dkt. #11-10]. Wayne Pfaff appears to serve as a General Partner of

  Plastronics Socket Partners, L.P. See Disputed Assignment and Agreement [Dkt. #9-6]

  (signed by Wayne Pfaff as General Partner of the company). Paul Schubring states that he

  is the president and chief operating officer of HiCon USA, LLC and that he has served in

  that role since the company was formed. Schubring Decl. [Dkt. #11-12] at ¶ 2. HiCon USA,

  LLC acts as a distributor in this case. Distribution Agreement.

         Any inconvenience to or cost imposed upon David and Wayne Pfaff provides little

  support under this factor. While these men might be forced to pay for travel if the case is

  tried in Marshall, both men work for one of the Plastronics businesses and presumably are

  amenable to trying the case in the Marshall Division. Further, these men will likely be party

  witnesses, and “convenience of party witnesses is given little weight.” Seven Networks, at

  *32 (citing ADS Sec. L.P. v. Advanced Detection Sec. Servs., Inc., No. A-09-CA-773-LY,

  2010 U.S. Dist. LEXIS 27903, at *4 (W.D. Tex. Mar. 23, 2010), report and

  recommendation adopted in A-09-CA-773-LY, 2010 U.S. Dist. LEXIS 148396 (Apr. 14,

  2010); Frederick v. Advanced Fin. Sols., Inc., 558 F. Supp. 2d 699, 704 (E.D. Tex.

  2007)).This minimizes the impact of these potential witnesses on this factor.

         Defendant also identifies Dong Weon Hwang as a potential witness, Def.’s Mot. at

  11, but any inconvenience to or cost imposed upon Hwang provides little support under

  this factor. Hwang would already have to travel from Seoul to Dallas, so any additional

  inconvenience to Hwang by trying the case in Marshall would be slight when viewed in

  the context of the overall trip. See In re Genentech, Inc., 566 F.3d 1338, 1344 (Fed. Cir.

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  2009) (stating that the inconvenience caused to witnesses from Europe is limited as the

  witnesses will be required to travel a significant distance no matter where they testify).

            Defendant also identifies Paul Schubring as a potential witness. Schubring is an

  officer of a corporate affiliate of the Defendants, who resides in Arizona. He contends that

  it would be more convenient for him to voluntarily travel to Dallas. Defendants concede

  that he is not subject to compulsory process in either venue. The slight additional distance

  to Marshall from Arizona is not a factor of consequence in this analysis.
  .
            Considering the arguments made by the parties, the Court finds that this factor is

  neutral.


      VI.      Weighing the factors together

            The Court concludes that this motion to transfer to the Northern District of Texas

  should be DENIED. A defendant must show that the proposed forum is clearly more

  convenient, and the Court concludes that Defendant has not met that burden in this case.

  The Defendants’ Motion is therefore DENIED.
             SIGNED this 3rd day of January, 2012.
            SIGNED this 13th day of December, 2018.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




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